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10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                              SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                        )   Case No. CR-15-00226-EJD
                                                      )
15           Plaintiff,                               )   THE UNITED STATES’ STATEMENT OF
                                                      )   THE CASE
16      v.                                            )
                                                      )   Trial Date:   August 25, 2015
17   DOUGLAS YORK,                                    )   Time:         9:00 a.m.
                                                      )   Courtroom:    Hon. Edward J. Davila
18           Defendant.                               )
                                                      )
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             The United States respectfully provides the Court with a proposed statement of the case for
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     consideration at the August 24, 2015 pretrial conference.
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     DATED: August 24, 2015                               Respectfully submitted,
23
                                                          MELINDA HAAG
24                                                        United States Attorney

25                                                        _________/s/_______________
                                                          BRIANNA L. PENNA
26                                                        JEFFREY SCHENK
                                                          Assistant United States Attorneys
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     THE UNITED STATES’ STATEMENT OF THE CASE
     CR-15-00226-EJD                                 1
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 1                                       STATEMENT OF THE CASE

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        The United States charges the defendant with (1) False Impersonation of an Employee of the United
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     States in violation of 18 United States Code section 912; and (2) Telecommunications Device
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     Harassment, in violation of 47 United States Code section 223(a)(1)(C). After the defendant’s wife
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     initiated divorce proceedings against him, the defendant allegedly began to harass his wife and her
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     boyfriend, Allan Hessenflow. As part of this harassment, the United States alleges that on February 23,
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     2012, the defendant used a telephone “spoofing service” to harass Mr. Hessenflow. A telephone
 8 spoofing service is a service that allows a caller to conceal his/her voice during a telephone call, and also

 9 to change the telephone number that appears on a caller ID. The government alleges that on February
10 23, 2012, the defendant called Mr. Hessenflow using a spoofing service, and impersonated an employee

11 from the Internal Revenue Service who was investigating Mr. Hessenflow’s tax records.

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     THE UNITED STATES’ STATEMENT OF THE CASE
     CR-15-00226-EJD                                  2
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